                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
___________________________________________
                                            )
COMMONWEALTH OF MASSACHUSETTS, )
                                            )
            Plaintiff/Counterclaim-         )
            Defendant,                      )
                                            )
            and                             )
                                            )
THE AQUINNAH/GAY HEAD COMMUNITY )
ASSOCIATION, INC. (AGHCA) and TOWN          )
OF AQUINNAH,                                )
                                            )
            Intervenors/Plaintiffs,         )
                                            )      Civil Action No.
            v.                              )      13-13286-FDS
                                            )
THE WAMPANOAG TRIBE OF GAY HEAD             )
(AQUINNAH), THE WAMPANOAG TRIBAL )
COUNCIL OF GAY HEAD, INC., and THE          )
AQUINNAH WAMPANOAG GAMING                   )
CORPORATION,                                )
                                            )
            Defendants/Counterclaim-        )
            Plaintiffs,                     )
                                            )
            v.                              )
                                            )
CHARLES BAKER, in his official capacity as  )
GOVERNOR, COMMONWEALTH OF                   )
MASSACHUSETTS, et al.,                      )
                                            )
            Third-Party Defendants.         )
___________________________________________)

                        SECOND AMENDED FINAL JUDGMENT

SAYLOR, J.

       Pursuant to Rule 58 of the Federal Rules of Civil Procedure, and in accordance with the

Court’s July 28, 2015 Order entering a preliminary injunction (Docket No. 140); the Court’s

November 13, 2015 Order addressing cross-motions for summary judgment (Docket No. 151);
the mandate of the United States Court of Appeals for the First Circuit dated January 5, 2016

(Docket No. 176); and the Court’s June 19, 2019 Order on the motion of the Town of Aquinnah

for final judgment (filed herewith), it is hereby ORDERED, ADJUDGED, AND DECREED as

follows:

       1.      The following definitions shall apply in this judgment:

               a.     The term “the Tribe” shall mean defendants/counterclaim-plaintiffs the

                      Wampanoag Tribe of Gay Head (Aquinnah); the Wampanoag Tribal

                      Council of Gay Head, Inc.; and the Aquinnah Wampanoag Gaming

                      Corporation.

               b.     The term “the Governmental and Private Parties” shall mean

                      plaintiff/counterclaim-defendant the Commonwealth of Massachusetts;

                      intervenor-plaintiff/counterclaim-defendant the Town of Aquinnah;

                      intervenor-plaintiff the Aquinnah/Gay Head Community Association, Inc.;

                      and third-party defendants Governor Charles D. Baker, Attorney General

                      Maura Healey, and Massachusetts Gaming Commission Chair Cathy

                      Judd-Stein, all acting in their official capacities.

               c.     The term “Settlement Lands” shall mean the “settlement lands,” as defined

                      in 25 U.S.C. § 1771f(8), and any other land that may now or hereafter be

                      owned by or held in trust for any Indian tribe or entity in the town of

                      Aquinnah, Massachusetts.

               d.     The term “the Gaming Laws” shall mean the laws, regulations, and

                      ordinances of the Commonwealth of Massachusetts and the Town of

                      Aquinnah that prohibit or regulate the conduct of bingo or any other game



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             of chance.

     e.      The term “the General Regulatory Laws” shall mean the laws, regulations,

             and ordinances of the Commonwealth of Massachusetts, the Town of

             Aquinnah, and other state and local governmental authorities other than

             the Gaming Laws, including but not limited to any state and local

             permitting requirements.

2.   Judgment is hereby entered in favor of the Tribe, and against the Governmental

     and Private Parties, as to (a) the claims brought by the Governmental and Private

     Parties, to the extent that they seek relief providing that the Tribe must comply

     with the Gaming Laws on the Settlement Lands, and (b) the counterclaims and

     third-party claims brought by the Tribe, to the extent that they seek relief

     providing that such compliance with the Gaming Laws is not required.

3.   Judgment is hereby entered in favor of the Governmental and Private Parties, and

     against the Tribe, as to (a) the claims brought by the Governmental and Private

     Parties, to the extent that they seek relief providing that the Tribe is subject to the

     General Regulatory Laws in connection with the construction, occupancy, and

     operation of a gaming facility on the Settlement Lands, and (b) the counterclaims

     and third-party claims brought by the Tribe, to the extent that they seek relief

     providing that such activities by the Tribe are not subject to the General

     Regulatory Laws.

4.   Judgment is hereby entered declaring that (a) the Tribe may construct, occupy,

     and operate a gaming facility on the Settlement Lands without complying with the

     Gaming Laws, and (b) the Tribe’s construction, occupancy, and operation of a



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              gaming facility on the Settlement Lands shall otherwise be subject to the General

              Regulatory Laws.

       5.     The Town of Aquinnah is permanently enjoined and restrained from enforcing the

              Gaming Laws against the Tribe on the Settlement Lands.

       6.     The Tribe is permanently enjoined and restrained from constructing, occupying,

              and operating a gaming facility on the Settlement Lands without complying with

              the General Regulatory Laws.

So Ordered.



                                                   /s/ F. Dennis Saylor
                                                   F. Dennis Saylor IV
Dated: July 19, 2019                               United States District Judge




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